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                                                                         5                                 IN THE UNITED STATES DISTRICT COURT
                                                                         6                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         7
                                                                         8    UNITED STATES OF AMERICA,                               No. CR 05-334 SBA
                                                                         9                   Plaintiff ,                              ORDER DIRECTING U.S. MARSHAL TO
                                                                                                                                      ARRANGE FOR NON-CUSTODIAL
                                                                         10     v.                                                    TRANSPORTATION
                                                                         11
United States District Court




                                                                              STEVEN SHELTON, et al.,
                               For the Northern District of California




                                                                         12                  Defendants.
                                                                                                                           /
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                                                                         14          Defendant Steven Shelton, being required to appear in this Court on September 22, 2006, for

                                                                         15   the purpose of a hearing on his Motions to Substitute Counsel and Continue Trial in this matter, and

                                                                         16   having qualified for legal representation at the Government's expense, and good cause appearing
                                                                         17   therefor,
                                                                         18          IT IS HEREBY ORDERED THAT the United States Marshal for the Northern District of
                                                                         19   California arrange one-way non-custodial air transportation for Mr. Shelton to travel from Orlando,
                                                                         20   Florida to Oakland, California on September 22, 2006. The United States Marshal may furnish the
                                                                         21   necessary fare for Mr. Shelton's trip in lieu of providing such transportation.
                                                                         22          IT IS SO ORDERED.
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                                                                              Dated: 9/21/06
                                                                         24                                                         SAUNDRA BROWN ARMSTRONG
                                                                                                                                    United States District Judge
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